     Case 2:13-cr-00008-WFN     ECF No. 1092   filed 06/13/13   PageID.3896 Page 1 of 1




 1
                           UNITED STATES DISTRICT COURT
 2
 3                      EASTERN DISTRICT OF WASHINGTON

 4
     UNITED STATES OF AMERICA,                    No. CR-13-008-WFN-7
 5
 6                      Plaintiff,                ORDER GRANTING
                                                  MOTION TO MODIFY
 7 vs.
 8
   ASHLEY BRITANY ARREDONDO,
 9
10                      Defendant.
11         At the hearing on Defendant’s Motion to Modify Conditions of Pretrial
12   Release, attorney Phil Nino appeared with Defendant; Assistant U.S. Attorney
13   Russell Smoot represented the United States. Defendant’s treatment provider and
14   Pretrial Services did not oppose Defendant’s request. The Motion, ECF No. 1059,
15   is GRANTED as follows:
16         Pretrial Services shall decide on limited blocks of time when Defendant may
17   engage in lawful search for employment. Once lawful employment is secured,
18   Pretrial Services shall confirm the offer of employment and may deny permission
19   for such employment if it interferes with treatment or is otherwise deemed
20   inappropriate by the Pretrial Services Officer in consultation with the treatment
21   provided. At that time, Pretrial Services may set a curfew sufficient to permit
22   Defendant to be employed and to include travel to and from her place of
23   employment.     At all times, Defendant shall remain under location monitoring.
24   All other conditions of release remain.
25         IT IS SO ORDERED.
26         DATED June 13, 2013.
27
                              S/ CYNTHIA IMBROGNO
28                      UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
